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14

15                         UNITED STATES DISTRICT COURT
16                       CENTRAL DISTRICT OF CALIFORNIA
17

18    JANNA CHOI, individually and on behalf    Case No. 8:19-cv-00468
      of all others similarly situated,
19

20                         Plaintiff,           CLASS ACTION COMPLAINT

21                v.
22                                              JURY TRIAL DEMANDED
      KIMBERLY-CLARK WORLDWIDE,
23    INC.,
24
                               Defendant.
25

26

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28


     CLASS ACTION COMPLAINT
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 1          Plaintiff Janna Choi (“Plaintiff”) brings this action on behalf of herself and all
 2   others similarly situated against Defendant Kimberly-Clark Worldwide, Inc.
 3   (“Kimberly-Clark” or “Defendant”) for the manufacture, marketing, and sale of U by
 4   Kotex® Sleek® Tampon products identified below. Plaintiff makes the following
 5   allegations pursuant to the investigation of her counsel and based upon information
 6   and belief, except as to the allegations specifically pertaining to herself, which are
 7   based on personal knowledge.
 8                                  NATURE OF ACTION
 9          1.    This is a class action against Defendant Kimberly-Clark Corporation for
10   the manufacture and sale of U by Kotex® Sleek® Tampons in Regular, Super, and
11   Super-Plus Absorbency (collectively, the “Products” or “Kotex Sleek Products”), all
12   of which suffer from an identical design defect. The Products are defective because
13   they unravel and/or come apart upon removal (the “Defect”), and in some cases
14   cause users to seek medical attention to remove tampon pieces left in the body.
15   Additionally, the defect can cause infections, vaginal irritation, localized vaginal
16   injury, and other symptoms. The defect renders the Products unsuitable for their
17   principal and intended purpose.
18          2.    Plaintiff brings claims against Defendant individually and on behalf of a
19   class of all other similarly situated purchasers of the Products for (1) fraud; (2) unjust
20   enrichment; (3) violation of California’s Consumers Legal Remedies Act (“CLRA”),
21   Civil Code §§ 1750, et. seq.; (4) violation of California’s Unfair Competition Law,
22   Cal. Bus. & Prof. Code §§ 17200-17210; and (v) breach of implied warranty of
23   fitness.
24                                          PARTIES
25          3.    Plaintiff Janna Choi is, and at all times relevant to this action has been, a
26   resident of Huntington Beach, California. Ms. Choi has purchased U by Kotex®
27   Sleek® Tampons, Regular Absorbency, at the rate of approximately one box per
28   month from about September 2016 to the present. Ms. Choi purchased the Products

     CLASS ACTION COMPLAINT                                                                   1
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 1   primarily from stores in Huntington Beach like Target and Vons. Ms. Choi would
 2   not have purchased the Products had she known that there was a significant risk that
 3   the Product was unfit to perform its intended purpose and dangerous.
 4         4.     Ms. Choi reviewed the Product’s packaging prior to purchase. The
 5   product packaging could have disclosed the Defect, but did not. Had there been a
 6   disclosure, Ms. Choi would not have bought the Products, or would not have
 7   purchased the Products on the same terms, because the safety defect would have
 8   been material to her. Defendant disclosed on the packaging that the Products were
 9   tampons and described features typical of tampons, but did not disclose the Defect or
10   have any warning about the defect. Ms. Choi relied on the packaging in making her
11   purchase decision.
12         5.     Defendant Kimberly-Clark Worldwide, Inc. is a Delaware corporation
13   with its principal place of business at 351 Phelps Drive, Irving, Texas 75082.
14   Defendant manufactures, markets, and distributes the Products throughout the United
15   States.
16                              JURISDICTION AND VENUE
17         6.     This Court has subject matter jurisdiction over this action pursuant to 28
18   U.S.C. § 1332(d) because there are more than 100 class members and the aggregate
19   amount in controversy exceeds $5,000,000, exclusive of interest, fees, and costs, and
20   at least one Class member is a citizen of a state different from Defendant.
21         7.     This Court has personal jurisdiction over Defendant because Defendant
22   conducts substantial business within California such that Defendant has significant,
23   continuous, and pervasive contacts with the State of California. Defendant is
24   registered to do business in the State of California.
25         8.     Venue is proper in this District pursuant to 28 U.S.C. § 1391 because
26   Defendant does substantial business in this District, a substantial part of the events
27   giving rise to Plaintiff’s claims took place within this District because Plaintiff
28   purchased the Products in this District and resides in this District.
      CLASS ACTION COMPLAINT                                                                  2
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 1                        COMMON FACTUAL ALLEGATIONS
 2         I. The Defect And Ensuing Recall
 3         9.     Defendant Kimberly-Clark is a multinational personal care corporation
 4   that generates roughly $18 billion in revenue a year. Defendant’s brand name
 5   products include Kotex® feminine hygiene products, which it manufactures and
 6   markets. Throughout its website, Defendant boasts that “Billions of people choose
 7   our products each day to make a positive difference in their lives.”
 8         10.    Unfortunately for many consumers who purchased these Products, they
 9   were not purchasing products that would “make a positive difference in their lives.”
10         11.    Indeed, the Products are defective because they pose a significant risk of
11   unraveling and/or coming apart upon removal, and in some cases cause users to seek
12   medical attention to remove tampon pieces left in the body. Additionally, the Defect
13   can cause infections, vaginal irritation, localized vaginal injury, and other symptoms.
14   The Defect renders the Products unsuitable for their principal and intended purpose.
15   For all of the Products that Defendant sold, the Defect is substantially likely to
16   materialize during the useful life of the product.
17         12.    In December of 2018, Kimberly-Clark issued a recall of its U by
18   Kotex® Sleek® Tampons, Regular Absorbency, that were manufactured between
19   October 7, 2016 and October 16, 2018 and distributed between October 17, 2016 and
20   October 23, 2018 due to a quality-related defect that could impact the performance
21   of the product (the “Recall”). Specifically, Kimberly-Clark admitted that U by
22   Kotex® Sleek® Tampons, Regular Absorbency are defective due the fact that they
23   unravel and/or come apart upon removal as well as cause numerous other side effects
24   described herein.
25         13.    However, Kimberly-Clark’s recall was insufficient. The recall was
26   done so that Kimberly-Clark could claim it did the right thing in response to the
27   Product Defect, when in fact the recall was calculated to protect Kimberly-Clark’s
28   profits by ensuring as few returns as possible. Instead of publicly offering a refund
      CLASS ACTION COMPLAINT                                                                 3
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 1   of any kind, Kimberly-Clark merely instructed consumers to “stop using the product
 2   immediately and promptly call Kimberly-Clark’s Consumer Service team,” and to
 3   seek immediate medical attention for any symptoms such as vaginal injury, vaginal
 4   irritation, urogenital infections, hot flashes, abdominal pain, nausea, or vomiting
 5   following use of the impacted product.
 6         14.    Furthermore, Kimberly-Clark limited its recall to that U by Kotex®
 7   Sleek® Tampons, Regular Absorbency, even though consumers complained of the
 8   same unraveling Defect described herein occurring in U by Kotex® Sleek®
 9   Tampons, Super Absorbency and U by Kotex® Sleek® Tampons, Super Plus
10   Absorbency. U by Kotex® Sleek® Tampons, Regular Absorbency, U by Kotex®
11   Sleek® Tampons, Super Absorbency and U by Kotex® Sleek® Tampons, Super
12   Plus Absorbency are virtually the same product with the exception of size and are
13   intended for the same type of use, contain the same omissions on the packaging, and
14   suffer from the same Product Defect. Kimberly-Clark’s recall is also ineffective
15   because it limits its recall of U by Kotex® Sleek® Tampons, Regular Absorbency to
16   certain lot codes, which it listed in its December 2018 press release. However, there
17   are no material differences between the tampons with the specified lot codes in the
18   Recall and other tampons within the Kotex® Sleek® Tampons product line, all of
19   which are encompassed within the definition of Kotex Sleek Products herein and
20   suffer from the same Product Defect.1
21         15.    For example, 3 months ago, a consumer posted a product review on the
22   Product’s website about the Product Defect and referenced U by Kotex® Sleek®
23   Tampons, Super Absorbency, saying that “the tampon started to come apart” and that
24   she “had to go to the ER to get it out.”2
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26   1
       See https://investor.kimberly-clark.com/news-releases/news-release-
     details/kimberly-clark-announces-voluntary-recall-u-kotexr-sleekr (Last visited Mar.
27   7, 2019).
     2
       See https://www.ubykotex.com/en-us/products/tampons/sleek-super-tampon (Last
28   visited Mar. 7, 2019).
      CLASS ACTION COMPLAINT                                                               4
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 1         16.   Numerous other consumers complained of the Product Defect in
 2   relation to U by Kotex® Sleek® Tampons, Super Absorbency and Super Plus
 3   Absorbency, stating that “this tampon fell apart inside of me!”, and “tampons have
 4   literally fallen apart inside me while removing them.” Each time, Defendant
 5   responded to the inquiry, directing the consumer to contact customer support:
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      CLASS ACTION COMPLAINT                                                              5
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 1         17.    Defendant has been on notice of the Product Defect for years and did
 2   nothing about it. For instance, six years ago, a consumer posted a product review on
 3   the Product’s website about the Product Defect and referenced U by Kotex® Sleek®
 4   Tampons, Super Plus Absorbency. Specifically, the consumer stated “I am just
 5   going to say what is annoying me about their whole brand of tampons. You can
 6   br[e]ak[] them apart with your hands…Buy a tampon that is going to work and not
 7   fall apart every time you use it.”:
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           18.    A consumer complaint on Defendant’s website also states that although
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     not included in the lot codes, and not regular absorbency, the consumer’s Product
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     was still affected by the Defect:
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      CLASS ACTION COMPLAINT                                                              6
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      CLASS ACTION COMPLAINT                                                     7
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 1         19.    The Recall was insufficient because it did not include U by Kotex®
 2   Sleek® Tampons, Super and Super and Super Plus Absorbency, it came too late and
 3   it was too narrow in timeframe. In fact, all Kotex Sleek Products, regardless of
 4   absorbency size or lot code, were affected by the Defect.
 5         II. Kimberly-Clark’s Pre-Sale Knowledge Of The Defect
 6         20.    Years before issuing the recall, Kimberly-Clark received complaints of
 7   tampons unraveling and/or coming apart upon removal and complaints of infection,
 8   irritation, and localized injury.
 9         21.    In fact, Defendant knew about the Defect through dozens of reviews
10   posted on its own website. As far as 6 years ago, numerous consumers posted
11   product reviews about the Product’s defective nature on Kimberly Clark’s website,
12   www.ubykotex.com, which Kimberly-Clark actively monitors.
13         22.    For each poor review, Kimberly-Clark responded to the consumer and
14   directed them to contact customer service.
15         23.    For example, 5 months ago, a consumer stated that she “had serious
16   issues with the Sleek Regular tampons. Upon removal, the tampon starts to
17   unravel…I have also purchased 2 boxes, at separate times, thinking the original box
18   must have been a bad batch. The first box had roughly 40% that were defective; I’ve
19   only used 9 from the new box and 4 of them were faulty…Scary and unacceptable!”:
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      CLASS ACTION COMPLAINT                                                               8
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            24.    4 months ago, another consumer posted a review that “multiple times I
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      have had the tampons completely rip apart while removing them” and Defendant
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      responded:
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      CLASS ACTION COMPLAINT                                                               9
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            25.   5 months ago, a consumer reported that “THE TAMPON RIPPED IN
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      HALF!!! I thought maybe this was just maybe a one time thing…I used them again,
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      AND IT HAPPENED AGAIN!!!” Again, Defendant responded:
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      CLASS ACTION COMPLAINT                                                        10
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            26.   Again, yet another consumer complained that the Product “pulled apart”
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      as the consumer was removing it. She stated, “It has happened twice now.” Again,
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      Defendant responded to the consumer:
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      CLASS ACTION COMPLAINT                                                          11
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            27.   Like most companies who offer customers an opportunity to post
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      reviews on their websites, Kimberly-Clark regularly monitors on-line customer
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      reviews because they provide valuable data regarding quality control issue, customer
21
      satisfaction and marketing analytics. Regularly and thoroughly monitoring reviews
22
      is also standard business practice for managing the company’s on-line reputation.
23
      And, like most companies, Kimberly-Clark pays particular attention to 1-star reviews
24
      like those copied above because extreme reviews are sometimes the result of extreme
25
      problems, and Kimberly-Clark is sensitive to the reputational impact of negative on-
26
      line reviews. As a result of this policy, Kimberly-Clark’s management was aware of
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      CLASS ACTION COMPLAINT                                                              12
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 1    the above-referenced consumer complaints shortly after each complaint was posted
 2    on the company website because each complaint was responded to.
 3          28.    Kimberly Clark’s management pays close attention when customers
 4    make similar complaints about a product, because that indicates the complaints are
 5    not the result of user error or an anomalous incident, but instead a systemic problem
 6    with the product. Kimberly-Clark also knows that when there are many similar
 7    complaints from customers, then it is often the case that for every person who
 8    complains about a defect, there are other people who experienced the same defect
 9    but who did not complain. Here, the reports and complaints from consumers were
10    similar enough, and numerous enough, to put Kimberly-Clark on notice that the
11    incidents described were the result of a design defect, and Kimberly-Clark knew that
12    the Products were experiencing unusually high levels of complaints about the Defect.
13          29.    Kimberly-Clark profited enormously from its failure to disclose the
14    Product Defect sooner. The only reason Kimberly-Clark did not disclose the defect
15    sooner is that it deemed making money more important than protecting its customers
16    from the dangers relating to the Products.
17          30.    The defect at issue here involves a critical safety-related component of
18    the Products, and it was unsafe to use the Products because of their substantial
19    likelihood of unravelling and/or coming apart upon removal or causing infection,
20    irritation and/or injury. Defendant had exclusive knowledge of the Defect, which
21    was not known to Plaintiff or class members.
22          31.    Defendant made partial representations to Plaintiff and class members,
23    while suppressing the safety defect. Specifically, by displaying the Product and
24    describing its features, the product packaging implied that the Product was suitable
25    for use as a tampon, without disclosing that the Products had a critical safety-related
26    defect that could result in harm to users of the Product.
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      CLASS ACTION COMPLAINT                                                                 13
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 1                       CLASS REPRESENTATION ALLEGATIONS
 2          32.    Plaintiff seeks to represent a class defined as all persons in the United
 3    States who purchased the Products from March 8, 2013 to the present (the “Class”).
 4    Excluded from the Class are persons who made such purchases for purpose of resale.
 5          33.    Plaintiff also seeks to represent a subclass of all Class Members who
 6    purchased the Products in the State of California (the “California Subclass”).
 7          34.    At this time, Plaintiff does not know the exact number of members of
 8    the aforementioned Class and Subclass (“Class Members” and “Subclass Members,”
 9    respectively); however, given the nature of the claims and the number of retail stores
10    in the United States selling Defendant’s Products, Plaintiff believes that Class and
11    Subclass members are so numerous that joinder of all members is impracticable.
12          35.    There is a well-defined community of interest in the questions of law
13    and fact involved in this case. Questions of law and fact common to the members of
14    the Class that predominate over questions that may affect individual Class members
15    include, but are not limited to:
16                 (a)    whether Defendant misrepresented and/or failed to disclose
17                        material facts concerning the Products;
18                 (b)    whether Defendant’s conduct was unfair and/or deceptive;
19                 (c)    whether Defendant has been unjustly enriched as a result of the
20                        unlawful conduct alleged in this Complaint such that it would be
21                        inequitable for Defendant to retain the benefits conferred upon
22                        Defendant by Plaintiff and the Class;
23                 (d)    whether Plaintiff and the Class have sustained damages with
24                        respect to the common law claims asserted, and if so, the proper
25                        measure of their damages.
26          36.    With respect to the California Subclass, additional questions of law and
27    fact common to the members that predominate over questions that may affect
28

      CLASS ACTION COMPLAINT                                                                   14
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 1    individual members include whether Defendant violated the California Consumer
 2    Legal Remedies Act as well as California’s False Advertising law.
 3          37.    Plaintiff’s claims are typical of those of the Class because Plaintiff, like
 4    all members of the Class, purchased, in a typical consumer setting, Defendant’s
 5    Products, and Plaintiff sustained damages from Defendant’s wrongful conduct.
 6          38.    Plaintiff will fairly and adequately protect the interests of the Class and
 7    Subclasses and has retained counsel that is experienced in litigating complex class
 8    actions. Plaintiff has no interests which conflict with those of the Class or the
 9    Subclass.
10          39.    A class action is superior to other available methods for the fair and
11    efficient adjudication of this controversy.
12          40.    The prosecution of separate actions by members of the Class and the
13    Subclass would create a risk of establishing inconsistent rulings and/or incompatible
14    standards of conduct for Defendant. For example, one court might enjoin Defendant
15    from performing the challenged acts, whereas another might not. Additionally,
16    individual actions could be dispositive of the interests of the Class and the Subclass
17    even where certain Class or Subclass members are not parties to such actions.
18                                           COUNT I
19                                    (Fraud by Omission)
20          41.    Plaintiff incorporates by reference and re-allege herein all paragraphs
21    alleged above.
22          42.    Plaintiff brings this claim individually and on behalf of the members of
23    the proposed Class and Subclass against Defendant.
24          43.    This claim is based on fraudulent omissions concerning the safety of
25    consumers who use the Products. As discussed above, Defendant failed to disclose
26    that the Products had a dangerous Defect, or that the Defect was substantially likely
27    to manifest through the customary and intended use of the Products.
28

      CLASS ACTION COMPLAINT                                                                 15
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 1          44.    The false and misleading omissions were made with knowledge of their
 2    falsehood. Defendant is a nationwide personal care product distributor who knew of
 3    reports of the Products’ defective and dangerous nature. Nonetheless, Defendant
 4    continued to sell its worthless and dangerous tampons to unsuspecting consumers.
 5          45.     The false and misleading omissions were made by Defendant, upon
 6    which Plaintiff and members of the proposed Class and California Subclass
 7    reasonably and justifiably relied, and were intended to induce and actually induced
 8    Plaintiff and members of the proposed Class and California Subclass to purchase the
 9    Products.
10          46.    The fraudulent actions of Defendant caused damage to Plaintiff and
11    members of the proposed Class and Subclass, who are entitled to damages and other
12    legal and equitable relief as a result.
13                                              COUNT II
                                        (Unjust Enrichment)
14
            47.    Plaintiff incorporates by reference and re-allege herein all paragraphs
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      alleged above.
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            48.    Plaintiff brings this claim individually and on behalf of the members of
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      the proposed Class and Subclass against Defendant.
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            49.    Plaintiff and Class members conferred benefits on Defendant by
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      purchasing the Products.
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            50.    Defendant has been unjustly enriched in retaining the revenues derived
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      from Plaintiff’s and Class members’ purchases of the Products. Retention of those
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      moneys under these circumstances is unjust and inequitable because Defendant
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      failed to disclose that the Products were unfit for use as tampons, or that the Defect
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      was substantially likely to manifest through the customary and intended use of the
25
      Products. These omissions caused injuries to Plaintiff and Class members because
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      they would not have purchased the Products if the true facts were known.
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      CLASS ACTION COMPLAINT                                                                   16
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 1          51.    Retention of those moneys also is unjust and inequitable because, as
 2    alleged above, Kimberly-Clark commenced an ineffective recall that was calculated
 3    to result in few returns, and generally no refunds, thereby protecting profits
 4    Kimberly-Clark collected from selling the defective products.
 5          52.    Because Defendant’s retention of the non-gratuitous benefits conferred
 6    on them by Plaintiff and Class members is unjust and inequitable, Defendant must
 7    pay restitution to Plaintiff and Class members for its unjust enrichment, as ordered
 8    by the Court.
 9                                          COUNT III
10          Violation of California’s Consumers Legal Remedies Act (“CLRA”),
                            California Civil Code § 1750, et seq.
11
                                  (Injunctive Relief Only)
12
            53.    Plaintiff incorporates by reference and re-allege herein all paragraphs
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      alleged above.
14
            54.    Plaintiff brings this claim individually and on behalf of the members of
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      the proposed Class and Subclass against Defendant.
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            55.    Civil Code § 1770(a)(5) prohibits “[r]epresenting that goods or services
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      have sponsorship, approval, characteristics, ingredients, uses, benefits, or quantities
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      which they do not have or that a person has a sponsorship, approval, status,
19
      affiliation, or connection which he or she does not have.” Civil Code § 1770(a)(7)
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      prohibits “[r]epresenting that goods or services are of a particular standard, quality,
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      or grade, or that goods are of a particular style or model, if they are of another.”
22
      Civil Code § 1770(a)(9) prohibits “advertising goods or services with intent not to
23
      sell them as advertised.”
24
            56.    Defendant violated Civil Code § 1770(a)(5), (a)(7) and (a)(9) by
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      holding out Products as fit for use as tampons, when in fact the products were
26
      defective, dangerous, and useless.
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      CLASS ACTION COMPLAINT                                                                    17
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 1            57.   The Defect involves a critical safety-related component of the Products,
 2    and it was unsafe to use the Products with the defect.
 3            58.   Defendant had exclusive knowledge of the Defect, which was not
 4    known to Plaintiff or class members.
 5            59.   Defendant made partial representations to Plaintiff and class members,
 6    while suppressing the safety Defect. Specifically, by displaying the Product and
 7    describing its features, the product packaging and Defendant’s website implied that
 8    the Product was suitable for use as a tampon, without disclosing that the Product had
 9    a critical safety-related Defect that could result in harm to users of the Product.
10            60.   Plaintiff and the members of the California Subclass have suffered harm
11    as a result of these violations of the CLRA because they have incurred charges
12    and/or paid monies for the Products that they otherwise would not have incurred or
13    paid.
14            61.   On March 8, 2019, prior to the filing of this Complaint, Plaintiff’s
15    counsel sent Defendant a CLRA notice letter, which complies in all respects with
16    California Civil Code §1782(a). The letter was sent via certified mail, return receipt
17    requested, advising Defendant that it was in violation of the CLRA and demanding
18    that it cease and desist from such violations and make full restitution by refunding
19    the monies received therefrom. The letter stated that it was sent on behalf of
20    Plaintiff and all other similarly situated purchasers. A true and correct copy of
21    Plaintiff’s CLRA letter is attached hereto as Exhibit A. If Defendant fails to take
22    corrective action within 30 days of receipt of the demand letter, Plaintiff will amend
23    her complaint to include a request for damages as permitted by Civil Code § 1782(d).
24            62.   Wherefore, Plaintiff presently only seeks injunctive and equitable relief
25    for this violation of the CLRA.
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      CLASS ACTION COMPLAINT                                                                 18
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 1                                        COUNT IV
 2                      (Violation California’s Unfair Competition Law)
            63.    Plaintiff incorporates by reference and re-alleges herein all paragraphs
 3
      alleged above.
 4
            64.    Plaintiff brings this claim individually and on behalf of the members of
 5
      the proposed Class and Subclass against Defendant.
 6
            65.    By committing the acts and practices alleged herein, Defendant has
 7
      violated California’s Unfair Competition Law (“UCL”), Cal. Bus. & Prof. Code §§
 8
      17200-17210, as to the California Subclass, by engaging in unlawful, fraudulent, and
 9
      unfair conduct.
10
            66.    Defendant has violated the UCL’s proscription against engaging in
11
      unlawful conduct as a result of its violations of the CLRA, Cal. Civ. Code §
12
      1770(a)(5) and (a)(7) as alleged above.
13
            67.    Defendant’s acts and practices described above also violate the UCL’s
14
      proscription against engaging in fraudulent conduct.
15
            68.    As more fully described above, Defendant’s misleading marketing,
16
      advertising, packaging, and labeling of the Products is likely to deceive reasonable
17
      consumers.
18
            69.    Defendant’s acts and practices described above also violate the UCL’s
19
      proscription against engaging in unfair conduct.
20
            70.    Plaintiff and the other California Subclass members suffered a
21
      substantial injury by virtue of buying the Products that they would not have
22
      purchased absent Defendant’s unlawful, fraudulent, and unfair marketing,
23
      advertising, packaging, and omission about the defective nature of the Products.
24
            71.    There is no benefit to consumers or competition from deceptively
25
      marketing and omitting material facts about the defective nature of the Products.
26
            72.    Plaintiff and the other California Subclass members had no way of
27
      reasonably knowing that the Products they purchased were not as marketed,
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      CLASS ACTION COMPLAINT                                                                  19
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 1    advertised, packaged, or labeled. Thus, they could not have reasonably avoided the
 2    injury each of them suffered.
 3          73.     The gravity of the consequences of Defendant’s conduct as described
 4    above outweighs any justification, motive, or reason therefore, particularly
 5    considering the available legal alternatives which exist in the marketplace, and such
 6    conduct is immoral, unethical, unscrupulous, offends established public policy, or is
 7    substantially injurious to Plaintiff and the other members of the California Subclass.
 8          74.     Pursuant to California Business and Professional Code § 17203,
 9    Plaintiff and the California Subclass seek an order of this Court that includes, but is
10    not limited to, an order requiring Defendant to:
11                  (a)   provide restitution to Plaintiff and the other California Subclass
12                        members;
13                  (b)   disgorge all revenues obtained as a result of violations of the
14                        UCL;
15                  (c)   pay Plaintiff’s and the California Subclass’ attorney’s fees and
16                        costs.
17                                       COUNT V
18                (Breach of Implied Warranty of Fitness and Merchantability)
19          75.     Plaintiff incorporates by reference and re-allege herein all paragraphs

20    alleged above.

21          76.     Plaintiff brings this claim individually and on behalf of the members of

22    the proposed Class and Subclass against Defendant.

23          77.     Defendant is, and at all relevant times was, a merchant engaged in the

24    business of manufacturing and distributing, among other things, Kotex Sleek

25    Products.

26          78.     Plaintiff and the Class Members purchased the Products.

27          79.     Defendant is a manufacturer and merchant with respect to goods of this

28    kind, which were sold to Plaintiff and other consumers, and there was in the sale to

      CLASS ACTION COMPLAINT                                                                   20
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 1    Plaintiff and other consumers an implied warranty that those goods were
 2    merchantable and that they were fit for their intended use as tampons.
 3          80.    However, Defendant breached that warranty implied in the contract for
 4    the sale of goods in that Kotex Sleek Products are completely unusable, lack even the
 5    most basic degree of fitness for ordinary or intended use, and are not safe for human
 6    use as set forth in detail herein above.
 7          81.    The Products are defective and unusable because they were distributed
 8    to the public containing a harmful Defect, and because the Defect was substantially
 9    likely to manifest through the customary and intended use of the Products. As a
10    result, the Products were not usable and dangerous to the health of its consumers.
11          82.    Defendant admitted that the Products were completely unusable and
12    unfit for normal use when it initiated the recall described in detail herein above.
13          83.    As a direct and proximate result of this breach of warranty by
14    Defendant, Plaintiff and other consumers have been damaged by paying monies for
15    products that are completely unusable and unfit for their intended purpose.
16    Plaintiff seeks damages in an amount to be proven at trial for the injuries suffered
17    from Defendant’s breach of the implied warranties. The damages suffered by
18    Plaintiff and the Class Members include, but are not limited to, the monies paid to
19    Defendant for the Products.
20          84.    As a result of Defendant’s conduct, Plaintiff did not receive goods as
21    impliedly warranted by Defendant to be merchantable.
22                                   PRAYER FOR RELIEF
23          WHEREFORE, Plaintiff, individually and on behalf of all others similarly
24    situated, seek judgment against Defendant, as follows:
25                 a.     For an order certifying the nationwide Class and the Subclass
26                        under Rule 23 of the Federal Rules of Civil Procedure and
27                        naming Plaintiff as representative of the Class and Subclass and
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 1                      Plaintiff’s attorneys as Class Counsel to represent the Class and
 2                      Subclass members;
 3               b.     For an order declaring the Defendant’s conduct violates the
 4                      statutes referenced herein;
 5               c.     For an order finding in favor of Plaintiff, the nationwide Class,
 6                      and the Subclass on all counts asserted herein;
 7               d.     For compensatory and punitive damages in amounts to be
 8                      determined by the Court and/or jury;
 9               e.     For pre-judgment interest on all amounts awarded;
10               f.     For an order of restitution and all other forms of monetary relief;
11               g.     For an order awarding Plaintiff and the Class and Subclass their
12                      reasonable attorneys’ fees and expenses and costs of suit.
13                             DEMAND FOR TRIAL BY JURY
14         Plaintiff demands a trial by jury of all issues so triable.
15
      Dated: March 8, 2019                   BURSOR & FISHER, P.A.
16

17
                                             By:      /s/ Blair E. Reed
18                                                       Blair. E. Reed
19                                           L Timothy Fisher (State Bar No. 191626)
20                                           Yeremey Krivoshey (State Bar No. 295032)
                                             Blair E. Reed (State Bar No.316791)
21                                           1990 North California Blvd., Suite 940
                                             Walnut Creek, CA 94596
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                                             Adam T. Hoover (State Bar No. 243226)
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                                             4675 MacArthur Court, Suite 550
28                                           Newport Beach, CA 92660

      CLASS ACTION COMPLAINT                                                                22
Case 8:19-cv-00468-DOC-ADS Document 1 Filed 03/08/19 Page 24 of 29 Page ID #:24



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 2                                      E-mail: mgr@reichradcliffe.com
 3                                              adhoover@reichradcliffe.com

 4                                            Attorneys for Plaintiff

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      CLASS ACTION COMPLAINT                                                      23
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 1      CLRA Venue Declaration Pursuant to California Civil Code Section 1780(d)
 2          I, Yeremey Krivoshey, declare as follows:
 3          1.     I am an attorney at law licensed to practice in the State of California and
 4    a member of the bar of this Court. I am a partner at Bursor & Fisher, P.A., counsel
 5    of record for Plaintiff Janna Choi in this action. Plaintiff Janna Choi resides in
 6    Huntington Beach, California. I have personal knowledge of the facts set forth in
 7    this declaration and, if called as a witness, I could and would competently testify
 8    thereto under oath.
 9          2.     The Complaint filed in this action is filed in the proper place for trial
10    under Civil Code Section 1780(d) in that a substantial portion of the events alleged
11    in the Complaint occurred in the Central District of California.
12          I declare under the penalty of perjury under the laws of the State of California
13    and the United States that the foregoing is true and correct and that this declaration
14    was executed at Walnut Creek, California this 8th day of March 2019.
15

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17                                                         Yeremey Krivoshey
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                                                            EXHIBIT A
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                                                                             E R E M E Y
 SUITE 940                                                                     Tel: 9 2 5 . 3 0 0 . 4 4 5 5
 WALNUT CREEK, CA 94596                                                        Fax: 9 2 5 . 4 0 7 . 2 7 0 0
 w w w .burs or.com                                                     ykrivoshey@bursor.com

                                          March 8, 2019
 Via Certified Mail - Return Receipt Requested

 Kimberly-Clark Worldwide, Inc.
 351 Phelps Drive
 Irving, TX 75082

 Kimberly-Clark Worldwide, Inc.
 400 Goody’s Lane, Suite 100
 Knoxville, TN 37922

 CT Corporation System
 818 West Seventh Street, Suite 930
 Los Angeles, CA 90017

 Re:    Demand Letter Pursuant to California Civil Code § 1782, and other applicable laws.

 To Whom It May Concern:

        This letter serves as a notice and demand for corrective action on behalf of my client,
 Janna Choi, and all other persons similarly situated, arising from violations of numerous
 provisions of California law including the Consumers Legal Remedies Act, Civil Code § 1770,
 including but not limited to subsections (a)(5), (7), and (9). This letter also serves as notice
 pursuant to Cal. Com. Code § 2607(3)(a) concerning the breaches of implied warranties
 described herein.

          You have participated in the manufacture, marketing, and sale of U by Kotex® Sleek®
 Tampons, Regular Absorbency, U by Kotex® Sleek® Tampons, Super Absorbency and U by
 Kotex® Sleek® Tampons, Super Plus Absorbency (the “Products”). Each of these products
 suffer a design defect (the “Defect”) because they pose a significant risk of unraveling and/or
 coming apart upon removal, and in some cases cause users to seek medical attention to remove
 tampon pieces left in the body. Additionally, the Products can cause infections, vaginal
 irritation, localized vaginal injury, and other symptoms. The Defect renders the Products
 unsuitable for their principal and intended purpose. Further, on the packaging of the Products,
 you have failed to disclose the Defect or disclose any warning that the Defect may manifest and
 cause customers substantial harm.

         In December of 2018, you issued a recall of U by Kotex® Sleek® Tampons, Regular
 Absorbency, that were manufactured between October 7, 2016 and October 16, 2018 and
 distributed between October 17, 2016 and October 23, 2018 due to the Defect. However, your
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                                                                                         PAGE 2




 recall did too little too late. It was far too narrow, as it did not include all of the affected
 Products, which are not materially different in any relevant way and suffer from the same Defect.
 Further, you did not disclose or provide notice that you would offer any refunds or compensation
 to customers who bought the products affected by the recall, even though you admitted that the
 products are not safe for human use and should be thrown out.

         Ms. Choi. Burke, a resident of California, purchased U by Kotex® Sleek® Tampons,
 Regular Absorbency within the past three years primarily from stores in Huntington Beach like
 Target and Vons. Ms. Choi would not have purchased the Products had she known that there
 was a significant risk that the Products were unfit to perform their intended purpose and were
 dangerous. Ms. Choi reviewed the Product’s packaging prior to purchase. The product
 packaging could have disclosed the Defect, but did not. Had there been a disclosure, Ms. Choi
 would not have bought the Products, or would not have purchased the Products on the same
 terms, because the safety defect would have been material to her.

         Ms. Choi is acting on behalf of all purchasers of the Products within the United States
 within the past six years. Ms. Choi is also specifically acting on behalf of purchasers of the
 Products in California.

         To cure the defects described above, we demand that you (1) issue an immediate recall on
 any Products still on the market; and (2) make full restitution to all purchasers of the Products of
 all purchase money obtained from sales thereof.

         We further demand that you preserve all documents and other evidence which refer or
 relate to any of the above-described practices including, but not limited to, the following:

    1. All documents concerning the ingredients, formula, testing, and manufacturing process
       for the Products;

    2. All communications with the U.S. Food and Drug Administration, the National
       Advertising Division, or the Federal Trade Commission concerning the product
       development, manufacturing, marketing and sales of the Products;

    3. All documents concerning the advertisement, marketing, or sale of the Products;

    4. All communications with customers concerning complaints or comments concerning the
       Products; and

    5. All documents and communications concerning the potential or tendency of the Products
       to unravel or otherwise cause harm to consumers in any manner.

        We are willing to negotiate to attempt to resolve the demands asserted in this letter. If
 you wish to enter into such discussions, please contact me immediately. If you contend that any
 statement in this letter is inaccurate in any respect, please provide us with your contentions and
 supporting documents promptly.
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                                                                    PAGE 3




                                          Very truly yours,




                                          Yeremey Krivoshey
